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July 9, 2018

Via ECF

Honorable Judith C. McCarthy, U.S.M.J.
United States District Court

Southern District of New York

300 Quarropas Street, Courtroom 621
White Plains, NY 10601-4150

RE: Hughes v. Weledal lnc.
Case No. 7:17-cv-2494

KDV File No. 020914-0004
Status Conference: 7/11/18

Dear Judge McCarthy:

This firm represents defendant Weleda Inc. (“Weleda”) in the above referenced action.
There is a telephonic status conference presently scheduled for Wednesday, July ll, 2018 at
10:30 am. With the plaintiffs consent, Weleda respectfully requests an adjournment of
Wednesday’ s conference.

The parties are diligently moving forward with discovery, having exchanged initial
disclosures, propounded initial discovery demands, and exchanged responses to document
demands, along with responsive documents. Weleda is continuing to produce documents
responsive to the plaintiffs requests on an ongoing basis.

Recently, the parties met and conferred regarding their respective responses to document
demands and have agreed to exchange additional information as a result. Adjourning the
conference will ensure that the parties will be able to produce documents in accordance With
their meet-and-confer agreement, thereby obviating the need for any discovery assistance from
the Court.

Counsel for the plaintiff consents to the adjournment request. The parties jointly propose
any of the following dates for the status conference: Thursday, July 26, 2018; Friday, July 27,
2018; Monday, July 30, 2018 after 12:00 pm; or Friday, August 3, 2018 after 12:00 pm. Should
the Court require alternative proposed dates, please do not hesitate to contact me.

New York | Pennsylvania | New}ersey | San Francisco | Los Angeles j Florida j Chicago

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Kaufman Dolowich & Voluck, LLP
Re: Hughes v. Weleda, Inc.

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We thank the Court for its consideration
Respectfully submitted,
Kaufman Dolowich & Voluck, LLP
By: .s.»" C`.`hr:'s.'o,oher' Nuc‘r'fora
CHRISTOPHER NUCIFORA

CN:mr
cc: All Counsel (via ECF)

